Case 1:02-mc-00295-TFH-PJA Document 61-8 Filed 12/08/03. Pagelof5

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, )
Petitioner,

Vv. Misc. No. 02-295 (TFH)
KPMG LLP,
Respondent.

THIRD DECLARATION OF MICHAEL A. HALPERT

Pursuant to 28 U.S.C. §1746(2), Michael A. Halpert declares:

1. Tama duly commissioned Internal Revenue Agent, employed in the
Internal Revenue Service’s Large and Mid-Size Business Division (LMSB), Financial
Services Industry. My post of duty is in Washington, D.C.

2. I file this declaration to supplement the information contained in my two
earlier declarations filed in this case.

3. On May 3, 2002 I issued and caused to be served upon KPMG (through its
authorized representatives) a summons demanding the production of documents and
testimony about transactions described in Notice 2000-44, that may have been
promoted by KPMG.

4, Except for information sought and produced pursuant to an earlier IRS
summons seeking information about a KPMG-developed tax strategy called “BLIPS,”
at no time before August, 2003 did KPMG or any representative of KPMG disclose to

me that KPMG had been involved in selling or promoting any tax shelters described in

Notice 2000-44.
Case 1:02-mc-00295-TFH-PJA Document 61-8 Filed 12/08/03. Page 2of5

5. Stephen Gardner of the Kronish Leib law firm in New York City is one of
the attorneys of record for KPMG in this case. He is - and has been throughout 2003 -
also one of KPMG’s attorneys of record in the IRS’s tax shelter promoter examination
of KPMG.

6. Some time in 2003 I learned from sources other than KPMG that KPMG
may have developed and promoted a tax shelter called the “Short Option Strategy”
(SOS). Iasked KPMG to provide information about its role, if any, in developing and
promoting that tax shelter.

7. On May 28, 2003, I participated in a telephone conversation with Mr.
Gardner, in which he explained KPMG’s role in the SOS tax shelter. Mr. Gardner
initially said that KPMG did not sell or promote the SOS tax shelter, and that KPMG’s
role in the SOS tax shelter was limited to preparing federal income tax returns for at
least two participants in the shelter. Later, in another telephone conversation, Mr.
Gardner added that KPMG may have played a role in some cases in providing advice
about the preparation of the SOS participants’ federal income tax returns. At no time
before August 2003 did Mr. Gardner represent KPMG’s role in the SOS tax shelter as
involving anything other than the preparation or advice about the preparation of tax
returns.

8. On August 27, 2003, KPMG caused to be delivered to my office 17 boxes

of documents responsive to the Notice 2000-44 Summons, pertaining to KPMG’s
Case 1:02-mc-00295-TFH-PJA Document 61-8 Filed 12/08/03 Page 3of5

involvement in the SOS tax shelter. Although the Notice 2000-44 Summons also
sought a list of participants, KPMG did not produce such a list on August 27, 2003.

9. On September 9, 2003, I participated in a telephone conversation with
Stephen Gardner. During that conversation, Mr. Gardner advised me for the first time
that KPMG had prepared a list of participants in the SOS tax shelter, but had delayed
providing that list to the IRS, to enable those participants that wanted to keep the IRS
from learning their identities to seek relief in the courts to prevent KPMG from
disclosing their identities to the IRS. During that conversation, Mr. Gardner also said
that two of those participants had the previous day sought to file suit using “John
Doe” aliases, to enjoin KPMG from providing the IRS with any information about
them - including their identities.

10. It was not until September 17, 2003 that KPMG produced a list of SOS
customers to the IRS. That list did not include the names of the “John Does” who had
filed suit.

11. On August 27, 2003, when it produced the first documents responsive to
the Notice 2000-44 Summons, KPMG advised me that it was not producing all the
responsive documents. KPMG has never identified what documents it was
withholding, why it was withholding them, and when it would identify the withheld
documents and explain the reasons for withholding them.

12. Between August 27 and September 17, 2003, KPMG produced

approximately 20 boxes of documents responsive to the Notice 2000-44 Summons. I do

3.
Case 1:02-mc-00295-TFH-PJA Document 61-8 Filed 12/08/03 Page 4of5

not know when KPMG plans to finish producing all responsive documents, and
identifying all the documents it plans to withhold.

13. Attached to this Declaration as Exhibit A is a copy of an October 1, 1997
e-mail produced by KPMG in response to the FLIP/OPIS summons. This appears to be
an e-mail from Gregg Ritchie at KPMG in Los Angeles, responding to questions posed
in an e-mail sent to him by Randall A. Hamilton at KPMG Des Moines on September
30, 1997. In response to Mr. Hamilton’s question about whether his FLIP customer
must pay a fee for the Brown & Wood legal opinion, even if the customer did not
request that opinion, Mr. Ritchie states, “OUR DEAL WITH BROWN AND WOOD IS
THAT IF THEIR NAME IS USED IN SELLING THE STRATEGY, THEY WILL GET A
FEE. WE HAVE DECIDED AS A FIRM THAT B&W OPINION SHOULD BE GIVEN
IN ALL DEALS.”

I declare under penalty of perjury that the foregoing is true and correct.

Dated: 12/4 /e3

Mickel A Malpett—<—
Case 1:02-mc-00295-TFH-PJA Document 61-8 Filed 12/08/03. Page5of5

Author: Gregg W. Ritchie at KPMG_WARNER_CENTER

Date: 10/1/97 12:21 PM

Priority: Normal

TO: Randall A. Hamilton at KPMG DES_ MOINES

Subject: Re: Flip Tax Opinion

wecen- --- -- c+cer7-- Message Contents -------~-----~---~~~--—-------~. ~~~

Reply Separator

Subject: Flip Tax Opinion
Author: Randall A. Hamilton at KPMG_DES_MOINES
Date: 9/30/97 2:58 PM

Greg, in your September 23rd cc:mail message which attached the
September status memo, you indicated in paragraph 3(b) the fact
pattern must also be concurrently sent to R. J. Ruble at Brown and
Wood. You had previously indicated to me that we would not need to
request the Brown and Wood opinion unless the client specifically
requested it. At this time the client has only request our opinion
but is aware that the Brown and Wood firm would issue the opinion if
requested. Why are we now requiring this concurring opinion?

IF WE ARE FOUND TO BE A PROMOTER OF A TAX SHELTER, THE CLIENT IS
NOT PROTECTED FROM 6662 PENALTIES BY RELIANCE ON OUR OPINION ONLY. ALSO, OUR
DEAL WITH BROWN AND WOOD IS THAT IF THEIR NAME IS USED IN SELLING THE STRATEGY,
THEY WILL GET A FEE. WE HAVE DECIDED AS A FIRM THAT B&W OPINION SHOULD BE GIVEN
IN ALL DEALS. IF YOU DID A QUADRA DEAL, OUR SHARE OF THIS COST IS $25K. IF YoU
DID A DEAL THROUGH PRESIDIO, THE COST IS ALREADY BUILT IN TO THE FEE SCHEDULE.

With respect to your status memo, one question that I have is, should
all hours incurred be split between the international contract and the
PFP contract? This was not real clear under Section 10 since Section
10(c) indicated that all expenses relative to the engagement will be
split in the same ratio. It is not clear whether that includes
chargeable hours.

YES. SINCE WE ARE SPLITTING THE REVENUE BETWEEN THE IS AND PFP, ALL
COSTS (TIME AND EXPENSE) SHOULD ALSO BE SPLIT EQUALLY.

In Section § of your memo, you indicated clients must sign the
standardized engagement letter that was attached. While the
engagement letter that our client signed is not absolutely identical,
it is largely identical and was previously approved by Larry DeLap. I
would assume that would be sufficient at this time since the
engagement letter was signed in mid-August and our transaction is in
mid stream at this time.

YOU ARE FINE IF YOU HAVE ALREADY HAD THE CLIENT EXECUTE AN ENGAGEMENT
LETTER. MY MEMO RELATES TO FUTURE DEALS AND EMPHACIZES THAT CLIENTS MAY NOT
CHANGE THE LANGUAGE TO FIT THEIR NEEDS WITHOUT APPROVAL FROM DELAP.

644531
